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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

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United States of America                      MEMORANDUM & ORDER

      - against -                             No. 14-cr-652 (KAM)
                                              No. 20-cr-104 (KAM)
Shmuel Gali, also known as Sam
Gali,

                  Defendant.

-----------------------------------X

KIYO A. MATSUMOTO, United States District Judge:

      Defendant Shmuel Gali is serving a sixty-month federal

prison sentence in the two above-referenced prosecutions for

various offenses related to his used vehicle business.             (ECF

No. 89, Judgment in Crim. Case (“Judgment”).) 1          Proceeding pro

se, Gali now collaterally challenges his federal custody in

accordance with 28 U.S.C. § 2255, alleging that his trial

attorney was constitutionally ineffective by failing to

investigate potentially sentence-mitigating evidence and failing

to protect his right to appeal. 2       (ECF No. 104, Mot. to Vacate

(“Mot.”).)    Gali also moves for discovery, an evidentiary


1 The Government prosecuted Gali in two separate criminal actions in the

Eastern District of New York, Case Nos. 14-cr-652 and 20-cr-104, but the two
actions concern the same facts. (See infra p. 5.) Citations to the docket
are to Case No. 14-cr-652 unless otherwise noted.
2 Pro se filings are held to less rigorous standards than counseled filings

are. See Estelle v. Gamble, 429 U.S. 97, 106 (1976). Thus, a pro se motion
under 28 U.S.C. § 2255 is construed liberally to raise the strongest
arguments it suggests. Waiters v. United States, 472 F. Supp. 3d 7, 13
(E.D.N.Y. 2020). Because Gali proceeds pro se, the Court accords his motion
that liberal construction.
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hearing, appointment of counsel, and restoration of his right to

appeal.      (Id. 5m; ECF No. 117, Mot. for Leave to Reply (“Reply”)

p. 14.)      For the reasons stated below, the Court respectfully

denies Gali’s motion in its entirety.

                                   BACKGROUND

I.      Factual Background

        Between 2006 and 2011, Shmuel Gali and his brother, Chaim

Gali, orchestrated a scheme to sell vehicles with falsified

odometers and fraudulently obtained title information at

inflated prices. 3      During that period, the brothers bought 693

used vehicles from several franchises of a vehicle rental

company using fictitious names and claiming to represent

fictitious dealerships.         (ECF No. 71, Presentence Investigation

Rep. (“PSR”) ¶¶ 19–20.)         They sought out rental vehicles because

they knew rental vehicle companies frequently did not report

vehicle mileages to vehicle history companies, which obscured

the true mileages of their fleets.           (Id. ¶ 19.)     After they

bought the vehicles, the brothers “rolled back” their odometers

to reflect lower mileage figures.           (Id. ¶ 22.)     Then, they

altered the vehicles’ paperwork and brought the falsified

paperwork to the Pennsylvania Department of Transportation to

obtain new title documents reflecting the lower odometer

figures.      (Id. ¶¶ 23–24.)     Finally, they repaired and


3   Any reference solely to “Gali” refers to Shmuel unless otherwise noted.

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reconditioned the vehicles to make them appear newer and

consistent with their rolled back mileages.          (Id. ¶ 25.)

      The brothers sold the 693 “clocked” vehicles at wholesale

auto auctions in Pennsylvania and New Jersey to unwitting

licensed used vehicle dealers, who in turn sold them to

unwitting retail customers – the ultimate victims of the scheme

– for a profit.     (Id. ¶ 26.)     The victims not only paid inflated

prices upfront but also paid higher financing fees, insurance

fees, and repair costs.       (Id.)   On average, the odometer of one

of the Galis’ clocked vehicles had been rolled back nearly

70,000 miles, (id.), and the victim who bought it suffered

$6,000 in loss, (id. ¶ 30).

      Significantly, as will be discussed below, (see infra

pp. 9–11), the brothers sold most of the vehicles through

Manheim Auto Auction in Pennsylvania under the entities “Chase

Auto Center, Inc.” and “Conestoga City Autos.”           (See id. ¶ 27.)

After Manheim confronted the Galis about their vehicles’

odometers, however, the brothers began selling through a

different facility in New Jersey.         (Id.)

      The brothers then laundered the proceeds of their sales

through the bank accounts of entities they created until they

arrived in legitimate accounts they controlled.           (Id. ¶ 28.)

The brothers invested some of the laundered funds in additional

used vehicles, thus perpetuating the scheme, and used other

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funds to pay personal expenses.        (Id.)   Unbeknownst to them,

several state and federal agencies in New York and Pennsylvania

had been investigating their activities.          (Id. ¶¶ 15–17.)

II.   Procedural Background

      A.    Guilty Plea

      A grand jury in the Eastern District of Pennsylvania

indicted Shmuel and Chaim Gali on December 4, 2014, on various

fraud, false statements, and conspiracy charges.           Indictment,

United States v. Gali, Case No. 14-cr-634 (E.D. Pa. Dec. 4,

2014), ECF No. 1.      A different grand jury in the Eastern

District of New York indicted them on December 18, 2014, for

conspiring to commit mail fraud, wire fraud, and money

laundering, thus commencing the instant action.           (ECF No. 1,

Indictment.)

      Chaim was arrested in New York on January 6, 2014, (ECF

No. 6, Arrest Warrant), and arraigned before this Court, where

he pleaded not guilty to all charges, (ECF No. 3, Calendar:

Magistrate’s Proceeding).       Chaim later agreed to plead guilty to

some of the charges, (ECF No. 22, Crim. Cause for Pleading), and

consented to transfer the charges pending in the Eastern

District of Pennsylvania to the Eastern District of New York,

Consent to Transfer of Case for Plea & Sentence, United States

v. Gali, Case No. 14-cr-634 (E.D. Pa. Mar. 10, 2015), ECF No. 7.

He was sentenced on June 28, 2021, to slightly over one year of

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imprisonment, (ECF No. 86, Judgment in Crim. Case), and released

from prison on July 14, 2022, see https://www.bop.gov/inmateloc.

      Shmuel moved to Israel in 2010 and was not arraigned until

December 13, 2019, after his extradition to the United States,

at which point he pleaded not guilty to all charges.            (PSR

¶¶ 72, 80; ECF No. 41, Minute Entry for Crim. Proceeding.)               He

too consented to transfer the charges against him in the Eastern

District of Pennsylvania to the Eastern District of New York.

Consent to Transfer of Case for Plea & Sentence, United States

v. Gali, Case No. 14-cr-634 (E.D. Pa. Mar. 3, 2020), ECF No. 13. 4

Shmuel later withdrew his plea and pleaded guilty to some of the

charges through a plea agreement with the Government.             (ECF

No. 63, Crim. Cause for Pleading; see ECF No. 64, Plea

Agreement.)    In his plea agreement, he agreed “not to file an

appeal or otherwise challenge, by petition pursuant to 28 U.S.C.

§ 2255 or any other provision, the conviction or sentence in the

event that the Court impose[d] a term of imprisonment at or

below 97 months or below [sic].” 5        (Plea Agreement ¶ 4.)

      B.    Sentencing

      When the Court inquired at Gali’s sentencing as to his plan



4 The transferred charges from the Eastern District of Pennsylvania became
Case No. 20-cr-104 in the Eastern District of New York.
5 The plea agreement does not bar the claims Gali raises here because it

carves out “claim[s] of ineffective assistance of counsel [raised] in an
appropriate forum” from the waiver, (see Plea Agreement ¶ 4), and Gali’s
claims solely concern alleged ineffective assistance of counsel, (see infra
pp. 13–20).

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for providing restitution to his victims, Emouna replied that

Gali was penniless but planned to pay whatever he could in the

future.    (ECF No. 90–2, Sentencing Hr’g Tr. 18:13–20, 27:25–

28:4.)    The Court explained that there were over 600 victims

harmed over the course of five years and told Emouna that it had

expected Gali to present a more comprehensive restitution plan.

(Id. 28:5–29:4, 29:23–30:3, 30:9–18, 36:18–37:4.)

       The Court calculated Gali’s advisory guidelines sentence

range as seventy to eighty-seven months of imprisonment.             (Id.

47:18–21.)    The Government and the Probation Department each

requested that the Court impose a seventy-month sentence, the

low end of that range.      (Id. 56:22–57:2.)      After considering the

guidelines and the relevant sentencing factors as required by

18 U.S.C. § 3553(a), however, the Court imposed a below-

guidelines sentence.      The Court found Gali’s offense “serious”

due to its magnitude, time span, and sophistication.            (Id.

52:12–18.)    On the other hand, the Court acknowledged the

positive letters of support from Gali’s friends and family and

from a charitable organization for whom he worked.            (Id. 56:12–

17.)

       The Court imposed a sentence of sixty months of

imprisonment, to be followed by four years of supervised release

with conditions.     (Id. 58:11–60:11.)      It declined to impose a

fine and accepted the Government’s withdrawal of its forfeiture

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request.    (Id. 60:12–17.)     It imposed a restitution obligation

of $3,936,000, joint and several with Chaim’s obligation, due to

the 656 identified victims and payable to the Clerk of Court.

(Id. 60:21–61:14.)      The Court explained that restitution was a

condition of supervised release and that Gali would have to pay

it at a minimum of $25 per month while in custody and $500 per

month or twenty-five percent of his gross monthly income (after

deductions required by law) after release.           (Id. 63:18–64:12.)

      Finally, the Court advised Gali that he had to file any

notice of appeal within fourteen days after entry of the

judgment.    (Id. 64:18–20.)     The Court explained that the Clerk

of Court would prepare a notice of appeal if Emouna requested

one, and it requested Emouna to ensure that Gali’s appellate

rights would be protected and that he would have counsel on

appeal.    (Id. 64:18–24.)     The Court entered judgment on July 2,

2021.

      C.    Appeal

      Gali, acting pro se, timely filed a notice of appeal as to

his conviction and sentence on July 14, 2021. 6          (Case

No. 20-cr-104, ECF No. 20.)       Because Gali intended to argue that

Emouna was ineffective, Emouna moved the Second Circuit to

permit him to withdraw as Gali’s counsel and also moved that



6 Emouna states that he drafted the notice and sent it to Gali by email on
July 13, 2021. (ECF No. 114-4, Aff. of Matin Emouna ¶ 5.)

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court to appoint substitute counsel.         Mot. to Withdraw as

Counsel, United States v. Gali, No. 21–1718 (2d Cir. Aug. 10,

2021), ECF No. 19.      The Second Circuit granted the motion and

appointed Elizabeth M. Johnson as Gali’s new attorney.             Order,

United States v. Gali, No. 21–1718 (2d Cir. Aug. 12, 2021), ECF

No. 24.

      The Government moved to dismiss the appeal based on the

appellate waiver in Gali’s plea agreement.          Mot. for Dismissal

of Appeal, United States v. Gali, Case No. 21–1718 (2d Cir.

Sept. 14, 2021), ECF No. 36.        Johnson responded by filing a

motion to withdraw as counsel and an Anders brief. 7           See Mot. for

Permission to Withdraw, United States v. Gali, No. 21–1718

(2d Cir. Dec. 10, 2021), ECF No. 41.         In support of her motion,

Johnson filed an affidavit stating that she told Gali on

September 10, 2021, that she intended to file an Anders brief

due to the appellate waiver and had explained to him the

implications of that filing.        Id. ¶ 4.    Johnson further stated

that Gali told her he understood.         Id.   Finally, Johnson stated

that she sent Gali a copy of the Government’s motion to dismiss,

her affidavit, the Anders brief, and the Second Circuit’s

scheduling order.      Id. ¶¶ 5–6.    Gali never filed a response.

      Gali surrendered to the Bureau of Prisons on October 4,


7 Filing an Anders brief is the procedure that appellate counsel must follow
when he or she believes that the client has no non-frivolous issues to raise
on appeal. (See infra p. 21.)

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2021.      (ECF No. 114-4, Aff. of Matin Emouna (“Emouna Aff.”)

¶ 8.)      The Second Circuit granted Johnson’s motion to withdraw,

granted the Government’s motion to dismiss the appeal, and

summarily affirmed Gali’s conviction and sentence on August 1,

2022.      (Case No. 20-cr-104, ECF No. 29, Mandate.)

      D.      Collateral Challenge

      Gali filed the instant motion to vacate under 28 U.S.C.

§ 2255 on June 27, 2022.       His primarily claim is that Emouna was

constitutionally ineffective for failing to investigate funds

held by Manheim, one of the auction companies through which he

and his brother sold vehicles, (see supra p. 3), which Gali

contends he could have relied on to secure a less severe

sentence, (see Mot. 5f–j).       When Manheim discovered that

vehicles sold by Chase Auto and Conestoga had rolled back

odometers, it retained several titles and monies paid by Chase

Auto for vehicles it purchased.        (ECF No. 114, Gov’t’s Resp. in

Opp’n (“Opp’n”) 7.)      That act prompted Chase Auto to sue

Manheim.      (See ECF No. 114-2.)    The parties stipulated to

dismiss the Chase Auto civil case in 2010, and Manheim had no

further contact with the Galis since then.          (Opp’n 7, see ECF

No. 114-3.)

      Gali and the Government dispute facts regarding Manheim

that occurred after the Galis’ sentencing.          The Government’s

account is that it issued a press release noting the $3,936,000

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 restitution amount after the Galis’ sentencing.           See

 https://perma.cc/SSE2-YHVR.       Manheim’s attorney saw the press

 release and called the Government’s attorney on September 21,

 2021, to inform her that Manheim was holding over $200,000 from

 the sale of Chase Auto vehicles.          (ECF No. 114-1, Aff. of

 Anthony E. Bush (“Bush Aff.”) ¶ 7.)          On the call, Manheim’s

 attorney asked whether the money Manheim was holding could apply

 toward the restitution, explaining that it was considering

 depositing the money into Court if Gali and his brother would

 sign “hold-harmless” releases.       (Id.)     The Government then

 conveyed to Manheim over a series of subsequent communications

 that it had contacted the Galis’ counsel.          (Opp’n 8.)    The

 Government also sent Manheim the judgments stating the

 restitution amount, the Clerk of Court’s address for payment,

 and information about the facilities where the Galis were

 incarcerated in case Manheim wished to contact them directly.

 (Id.)   The Government then spoke to Gali’s attorney on

 October 5, 2021, the day after he surrendered to the Bureau of

 Prisons.   (Id.)    The Government contends that before these post-

 sentencing communications, Emouna had no knowledge of the civil

 suit between Chase and Manheim or the funds Manheim was holding.

 (Id. 9.)

      Gali’s account is that Chaim’s attorney informed him before

 sentencing that the Government had contacted Chaim to inform him

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 about the funds Manheim was holding.         (Mot. 5e.)    Gali states

 that Manheim “had already allegedly repaid” $200,000 “to the

 victims in [restitution]” and that he and his brother

 “collectively agreed to have the remaining $200k also

 contributed to the restitution obligation.”          (Id.)   Gali alleges

 that Emouna never informed him about Manheim’s position and that

 Gali did not learn of the funds until after his sentencing.

 (Id.)     He further alleges that Emouna “took absolutely no

 necessary steps whatsoever” to investigate the funds despite

 Gali having “repeatedly made Mr. Emouna fully aware of the

 availability of the money.”       (Id. 5j.)    Emouna’s affidavit

 states that Gali never told him about the Manheim litigation or

 the funds.     (Emouna Aff. ¶ 13.)

      Gali’s sister, Susan, has filed an affidavit stating that

 she retained Emouna on Shmuel’s behalf in July 2019 and

 discussed the Manheim funds with Shmuel and Emouna in January

 2020 and November 2020.      (ECF No. 118, Aff. of Susan Gali

 (“Susan Aff.”) ¶¶ 3–5.)      She further states that before Shmuel’s

 sentencing, she “indicated to Mr. Emouna that Shmuel Gali was

 hoping to use these funds as restitution to the victims” and

 “wished to disclose to the government the existence of these

 funds.”     (Id. ¶ 6.)

                               LEGAL STANDARD

         A person in federal custody may collaterally challenge his

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 or her conviction or sentence by filing a motion to vacate in

 accordance with 28 U.S.C. § 2255.          Kassir v. United States,

 3 F.4th 556, 566 (2d Cir. 2021).          Relief under Section 2255 is

 generally available only for a constitutional error, lack of

 jurisdiction, or fundamental defect that inherently results in a

 miscarriage of justice.       Nnebe v. United States, 534 F.3d 87, 90

 (2d Cir. 2008).     The motion must be brought in the district that

 imposed the sentence.      28 U.S.C. § 2255(a).

                                  DISCUSSION

       Gali’s only asserted ground for relief is that Emouna was

 constitutionally ineffective, 8 (see Mot. 5), which Gali claims

 manifested in two ways.       First, Gali alleges that but for

 Emouna’s failure to investigate the Manheim funds, he would have

 presented a more comprehensive restitution plan at his

 sentencing and thus secured a lower sentence.           (Id. 5f–j.)

 Second, he alleges that Emouna was ineffective regarding his

 appeal and thus seeks restoration of his appellate rights.              (Id.




 8 The Court does not construe Gali’s motion to raise a claim under Brady v.
 Maryland, 373 U.S. 83 (1963), that the Government failed to disclose
 exculpatory evidence. Though the motion occasionally uses language
 suggestive of such a claim, (see, e.g., Mot. 5g (“[T]he prosecution
 deliberately withheld this highly potential exculpatory evidence . . . .”)),
 Gali’s only asserted ground for relief is “[i]neffective assistance of
 counsel,” (id. 5–11). Moreover, the Government provides an affidavit from
 Manheim’s counsel establishing that Manheim did not disclose the funds to the
 Government until after Gali’s sentencing. (Bush Aff. ¶¶ 5–8.) Finally, Gali
 ultimately frames his accusations against the Government as a component of
 his ineffective counsel claim. (See id. 5g (“. . . Mr. Emouna knew or should
 have known himself that the government was deliberately withholding the
 exculpatory evidence . . . .”).)

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 5l.)

 I.     Ineffective Assistance of Counsel

        The Sixth Amendment to the federal Constitution guarantees

 a criminal defendant the right “to have the [a]ssistance of

 [c]ounsel for his [or her] defen[s]e.”         U.S. Const. amend. VI.

 In Strickland v. Washington, the Supreme Court interpreted

 “assistance” to mean “effective” assistance.          466 U.S. 668, 686

 (1984) (quoting McMann v. Richardson, 397 U.S. 759, 771 n.14

 (1970)).    An attorney renders ineffective assistance if he or

 she (1) performs below objectively reasonable professional

 standards (2) in a way that prejudices the defendant.            Farhane

 v. United States, 77 F.4th 123, 126 (2d Cir. 2023).           Prejudice

 occurs only when there is a substantial likelihood that the

 result of the proceeding would have changed but for the

 attorney’s deficient performance.         Garner v. Lee, 908 F.3d 845,

 862 (2d Cir. 2018).

        There is no reason for the court to address both elements

 of the Strickland inquiry if the defendant fails to establish

 one.    Id. at 861.   Further, the court may address the two

 elements in either order.      Id.   The Second Circuit has

 instructed district courts to dispose of Strickland claims

 solely for lack of sufficient prejudice without “grad[ing]

 counsel’s performance” when it is easier to do so.           See id.

 (quoting Mitchell v. Scully, 746 F.2d 951, 954 (2d Cir. 1984)).

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      A.     Failure to Investigate

      Gali’s claim that Emouna failed to investigate the Manheim

 funds is an example of a Strickland claim more readily resolved

 based on the prejudice prong.       Gali’s and his sister’s

 affidavits purport to contradict factual statements in Emouna’s

 affidavit as to the extent of Emouna’s knowledge regarding the

 Manheim funds before Gali’s sentencing.         (Compare Reply ¶ 12 and

 Susan Aff. ¶¶ 4–7 with Emouna Aff. ¶ 13.)         Rather than assess

 the relative credibility of the affiants, the Court will simply

 assume, “without deciding and without casting any aspersions on

 [Emouna],” see Horsford v. United States, No. 09-cr-1052 (LAK),

 2013 WL 12218413, at *4 (S.D.N.Y. May 15, 2013), that Gali’s

 account of the facts is correct and that Emouna refused his

 request to investigate the Manheim funds and discuss them at his

 sentencing, see Garner, 908 F.3d at 861 (assuming “without

 deciding . . . that there was no strategic rationale” for

 defense counsel’s conduct and proceeding to consider whether

 prejudice resulted from the alleged mistake).

      Even making that assumption, no prejudice would have

 resulted.    In the sentencing context, Strickland prejudice

 requires a reasonable probability that the court would have

 imposed a less severe sentence but for defense counsel’s

 deficient performance.      Gonzalez v. United States, 722 F.3d 118,

 130 (2d Cir. 2013).     Here, had Emouna discussed the Manheim

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 funds at Gali’s sentencing, the guidelines sentence range would

 have remained the same. 9     (See Sentencing Hr’g Tr. 44:25–47:21.)

 Further, the Court’s sixty-month sentence already fell

 substantially below the low end of the guidelines sentence

 range.   (See id. 47:18–21 (seventy months).)          Thus, had Emouna

 come to the sentencing armed with the knowledge gained from a

 thorough investigation of the Manheim funds, he at most would

 have been able to argue for the Court to use its discretion to

 impose a sentence even further below the guidelines range.

       Such an argument would not have changed the Court’s

 sentence.    In weighing the sentencing factors as required by

 18 U.S.C. § 3553(a), the Court found Gali’s offense “serious”

 due to the magnitude of the fraud, length of time that Gali

 perpetuated the fraud, number of victims who suffered loss, and

 sophistication of the scheme.        (Id. 52:12–18.)     The Court

 considered Gali’s cognitive challenges but found they did not

 materially impair his ability to carry out the scheme.             (Id.

 52:19–53:7.)    The Court also considered Gali’s personal



 9 Gali is incorrect that there is a “rebuttable presumption” that the Court

 either would have either lowered Gali’s base offense level or departed
 further below the guidelines range had the Court been apprised of the Manheim
 funds. (Mot. 5d.) Gali’s ability to pay restitution would not have changed
 the loss calculation under federal Sentencing Guidelines because his offense
 still would have caused a loss between $3,500,000 and $9,500,000. See U.S.
 Sent’g Guidelines Manual § 2B1.1(b)(1)(J)–(K) (U.S. Sent’g Comm’n 2018).
 Further, there is no “rebuttable presumption” the Court would have varied
 further downward. To the contrary, the burden is on Gali to show a
 reasonable probability that his sentence would have been lower. See
 Gonzalez, 722 F.3d at 130.

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 characteristics, family history, personal circumstances, and

 letters of support.     (Id. 53:8–56:17.)      Finally, the Court

 rejected Gali’s argument that a minimal sentence should have

 been imposed because the guidelines sentence range would have

 been only four to ten months were it not for the eighteen-level

 enhancement based on the large loss amount.          (See id. 57:3–7.)

 The Court explained that “the loss amount [was] a real tangible

 number and [went] to the losses suffered by Mr. Gali’s victims”

 and was “not some more complex best estimate.”          (Id. 57:8–11.)

 Thus, nothing in the Court’s guidelines calculation or weighing

 of the § 3553(a) factors suggests that it would have imposed a

 lesser sentence had it known about the Manheim funds.

      Gali correctly notes that the Court expressed concerns

 about restitution at other points during his sentencing.            (See

 Mot. 5d–e, h–j; Sentencing Hr’g Tr. 5:18–6:6, 18:13–14, 27:25,

 28:5–29:4, 29:23–30:3, 30:9–18, 31:9–13, 36:18–37:4, 38:8–10.)

 The restitution amount was $3,936,000, however.           (Id. 61:2–5.)

 Taking Gali’s account of the facts at face value, “$ 180k . . .

 had already been dispersed to certain victims” by Manheim “and

 another $ 236k were readily available to be disperse[d] to many

 more victims.”    (Reply ¶ 10.)     In total, that amounts to less

 than eleven percent of Gali’s restitution obligation.            Though

 that sum could have compensated some of the victims, it would

 have left enough uncompensated that the Court would not have

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 been motivated to modify Gali’s sentence.

      More importantly, the Court would not have considered

 another party’s payment to Gali’s victims to warrant a further

 discretionary reduction to an already below-guidelines sentence.

 Though compensating victims is one goal of restitution, an

 equally important goal is “requiring the defendant to accept

 responsibility for his or her transgressions.”          United States v.

 McLaughlin, 512 F. Supp. 907, 909 (D. Md. 1981).           The Court’s

 primary concern at sentencing was the lack of focus on how Gali

 would compensate his victims, not how third parties would

 compensate them.     The Court made it quite clear that it

 considered Gali’s continuing restitution obligation crucial

 regardless of his ability to pay.         (See, e.g., Sentencing Hr’g

 Tr. 30:14–16 (“Being able to pay I understand is important, but

 the law on restitution is that a Court must order restitution

 even if a Defendant cannot pay it.         And this is a 20-year

 judgment.”), 31:10–13 (“My point is when somebody causes a loss

 to another person, the law requires that they pay them back and

 make them whole.     And little by little, bit by bit, the victims

 have to be compensated.”), 36:18–24 (“[O]ther defendants who

 come before me . . . know that they have harmed people and that

 they owe restitution [and] have proposed a way forward, ‘This is

 my plan’ or ‘I’ve been setting aside some money every month from

 my paycheck . . . .’”).)      Gali’s ability to contribute a lump

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 sum through a third party amounting to roughly eleven percent of

 the total obligation would not have been entirely irrelevant;

 however, there is no reasonable probability that it would have

 changed the result given Gali’s already below-guidelines

 sentence and the degree to which the magnitude, length, and

 sophistication of Gali’s scheme weighed against lowering the

 sentence any further.

      Gali also makes an alternative prejudice argument,

 asserting that “had [he] known that Mr. Emouna would not

 represent the $ 422k to the court, [he] would not have pled

 guilty” and would have “insisted on going to trial.”            (Reply

 ¶ 15; see Mot. 5k–l.)      That is meritless.      Strickland prejudice

 in the plea context requires a reasonable probability that the

 defendant would have forgone a guilty plea but for counsel’s

 deficient performance.      Hill v. Lockhart, 474 U.S. 52, 59

 (1985); accord Gonzalez, 722 F.3d at 130.          A defendant’s self-

 serving statement that he or she would have rejected the plea

 agreement does not suffice.       See United States v. Nataniel,

 No. 15-cr-588 (MKB), 2019 WL 653137, at *8 (E.D.N.Y. Feb. 13,

 2019).   Here, the evidence against Gali was overwhelming, and he

 avoided considerable sentencing exposure through his plea

 agreement. 10   See Daza v. United States, No. 03-cv-2591 (RMB),


 10Gali also alleges that Emouna was ineffective because he “failed to subject
 the prosecution’s obviously inaccurate ‘victims loss calculation, to any
 adversarial testing process even after the court acknowledged that the total

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 2004 WL 875631, at *4 (S.D.N.Y. Apr. 23, 2004).           Under these

 circumstances, rejecting the agreement would have been

 irrational.

       Because there is no reasonable probability that the Court

 would have imposed a less severe sentence or that Gali would not

 have pleaded guilty but for Emouna’s alleged failure to

 investigate the Manheim funds and discuss them at Gali’s

 sentencing, no prejudice would have resulted from the allegedly

 deficient performance.      See Gonzalez, 722 F.3d at 130.         Thus,

 Gali cannot obtain relief on this ground.

       B.    Failure to Appeal

       Gali’s second Strickland claim is that Emouna was

 ineffective for “fail[ing] to file an appeal despite [Gali’s]

 request to do so.”      (Mot. 5l; see also Reply ¶ 25.)        The Supreme

 Court has held that an attorney who “disregards specific

 instructions from the defendant to file a notice of appeal acts

 in a manner that is professionally unreasonable.”            Roe v.

 Flores-Ortega, 528 U.S. 470, 477 (2000).          The Second Circuit has

 elaborated that such a failure comprises deficient performance



 amount of victims and losses were inaccurate.” (Mot. 5j–k.) This alleged
 error is also an insufficient basis for relief. Though courts construe pro
 se filings liberally, they do not “create arguments out of whole cloth.”
 United States v. Bethea, 388 F. App’x 20, 21 (2d Cir. 2010). Gali utterly
 fails to explain how the Government’s victim loss calculation was “obviously
 inaccurate,” and the Court will not attempt to formulate a theory for him.
 Further, the Court did not find the Government’s calculation “inaccurate” but
 rather sought – and received to its satisfaction – clarification regarding
 the loss amount. (ECF No. 66, Plea Hr’g Tr. 16:7–21.)

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 for Strickland purposes even if the defendant waived his or her

 right to appeal through a plea agreement and the attorney

 believes the appellate waiver would render the appeal frivolous.

 Campusano v. United States, 442 F.3d 770, 771–72 (2d Cir. 2006).

 If the defendant shows a reasonable probability that he or she

 would have timely appealed but for the deficiency, a presumption

 of prejudice arises.      Flores-Ortega, 528 U.S. at 483.        The

 appropriate remedy is restoration of the defendant’s right to

 appeal.   Id. at 477.

       When a criminal defendant’s appellate counsel determines

 after a thorough review of the record that no non-frivolous

 appellate issues exist, he or she must file a brief in

 accordance with Anders v. California, 386 U.S. 738, 744 (1967),

 summarizing the record and explaining why there are no non-

 frivolous issues.     The attorney must accompany the Anders brief

 with a motion to be relieved as counsel and an affidavit stating

 that the attorney explained the implications of the Anders brief

 to the defendant and advised the defendant that he or she can

 request the assistance of other counsel or submit a response pro

 se.   The defendant then must file a notice of any intent to

 respond within fourteen days after receiving the Anders brief.

       If the defendant waived his or her right to appeal through

 a plea agreement and the attorney concludes that there is no

 basis to contest the validity of the appellate waiver, the

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 Anders brief need only address “certain discrete issues” related

 to the waiver.    United States v. Gomez-Perez, 215 F.3d 315, 316–

 17 (2d Cir. 2000).

      Gali cannot prevail on this claim because he suffered no

 prejudice.    His assertion that his “appeal was never pursued,”

 (see Mot. 5l), is simply false.        Even assuming Gali asked Emouna

 to file a notice of appeal and Emouna refused, Gali did file a

 notice of appeal pro se.      (See Case No. 20-cr-104, ECF No. 20.)

 The Second Circuit accepted the notice as valid, granted

 Emouna’s motion to withdraw, and appointed substitute counsel

 for Gali.    Order, United States v. Gali, No. 21-1718 (2d Cir.

 Aug. 12, 2021), ECF No. 24.       It was perfectly reasonable for

 Gali’s new counsel to deem an appeal frivolous because Gali

 knowingly and voluntarily agreed to an appellate waiver, (see

 Plea Agreement ¶ 4), and his sentence fell below the ninety-

 seven month threshold necessary to trigger the waiver, (see

 Judgment 2).    Gali’s new counsel thus acted reasonably by

 following all required steps of the Anders procedure.            See Mot.

 for Permission to Withdraw, United States v. Gali, No. 21-1718

 (2d Cir. Dec. 10, 2021), ECF No. 41.         Gali never responded to

 his counsel’s Anders brief and does not attempt to contradict

 the statements in her supporting affidavit.          “The filing of an

 Anders brief does not in itself constitute ineffective

 assistance of counsel.”      Ulloa v. United States, No. 10-cv-4409

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 (DLI), 2013 WL 5530680, at *6 (E.D.N.Y. Sept. 30, 2013) (quoting

 Anim v. United States, 2013 WL 4056211, at *7 *S.D.N.Y. Aug. 12,

 2013)).   Thus, Gali cannot prevail on his Strickland claim that

 Emouna was ineffective for failing to protect his appellate

 rights.

 II.   Ancillary Relief

       Based on how the Court has resolved the merits of Gali’s

 motion, the Court denies Gali’s requests for discovery, an

 evidentiary hearing, and appointed counsel.

       Rule 6(a) of the Rules Governing Section 2255 Proceedings

 permits the court to authorize discovery only “for good cause.”

 In evaluating whether good cause exists, the court considers

 whether the moving party likely would establish entitlement to

 relief if the factual record were more “fully developed.”

 Rodriguez v. United States, No. 14-cv-6134 (KAM), 2020 WL

 7861383, at *23 (E.D.N.Y. Dec. 31, 2020) (quoting Bracy v.

 Gramley, 520 U.S. 899, 904 (1997)).        Rule 8(a) of the Rules

 Governing Section 2255 Proceedings requires the court to

 determine based on its review of the record and submissions

 whether an evidentiary hearing is warranted.          If a hearing is

 warranted, the court must appoint an attorney for a moving party

 who qualifies for appointed counsel under 18 U.S.C. § 3006A.

       Here, the Court resolved the merits of Gali’s claims on

 legal grounds, essentially accepting his account of the facts.

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 There is no reasonable likelihood that further factual

 development would help Gali establish entitlement to relief.

 Thus, Gali’s ancillary requests for discovery, an evidentiary

 hearing, and appointed counsel are denied.

                                 CONCLUSION

      For the reasons stated above, the Court respectfully denies

 Gali’s motion in its entirety.       Because Gail has failed to make

 a substantial showing of the denial of a constitutional right,

 the Court denies a certificate of appealability.           See 28 U.S.C.

 § 2253(c)(2).    Additionally, the Court certifies in accordance

 with 28 U.S.C. § 1915(a)(3) that any appeal from this order

 would not be taken in good faith.         See Coppedge v. United

 States, 369 U.S. 438 (1962).

      The Clerk of Court is respectfully requested to serve a

 copy of this Memorandum and Order on Gali (BOP No. 83801-053) at

 RRM, 201 Varick Street, Room 849, New York, NY 10014, and note

 service on the docket.



 SO ORDERED.

 Dated:     December 26, 2023
            Brooklyn, New York          _______________________________
                                       KIYO A. MATSUMOTO
                                       United States District Judge
                                       Eastern District of New York




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